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                     UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION


  LARGAN PRECISION CO., LTD.,

                    Plaintiff,           Case No. 4:19-cv-00696-ALM

  v.

  ABILITY OPTO-ELECTRONICS
  TECHNOLOGY CO. LTD.;
  NEWMAX TECHNOLOGY CO. LTD.;
  AND HP INC.,

                    Defendants.


          DEFENDANT NEWMAX TECHNOLOGY CO. LTD’S JOINDER
              MOTION TO DEFENDANT HP INC.’S MOTION TO
          TRANSFER TO THE NORTHERN DISTRICT OF CALIFORNIA
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       Defendant Newmax Technology Co., Ltd. (“Newmax”) joins in the motion to transfer filed

by co-defendant HP Inc. (“HP”) on March 1, 2020 (“HP Motion”).

I.     INTRODUCTION

       The reasons set forth by HP in its motion to transfer apply equally to Newmax, and

accordingly, Newmax joins in HP’s motion to transfer. Indeed, as set forth below, the Northern

District of California will clearly be more convenient for all of the parties in this case for at least

the following reasons: (1) the action could have been brought in the Northern District of California;

(2) an earlier action involving Largan, the subject technology, and one of the patents-in-suit was

litigated for three years in the Northern District of California; and significantly, (3) California is

the location of the majority of the witnesses and documents relevant to the allegedly infringing HP

computer products. Given these facts and others stated herein, the Northern District of California

is clearly the more convenient forum and this case should be transferred there pursuant to 28 U.S.C.

§ 1404(a).

II.    ANALYSIS

       “For the convenience of parties and witnesses, in the interest of justice, a district court may

transfer any civil action to any other district or division where it might have been brought or to

any district or division to which all parties have consented.” 28 U.S.C. § 1404(a). The law of the

regional circuit in which the case was originally brought governs the review of motions to transfer.

See In re Link_A_Media Devices Corp., 662 F.3d 1221, 1222-23 (Fed. Cir. 2011); In re Genentech,

566 F.3d 1338, 1341-42 (Fed. Cir. 2009). A motion to transfer venue should be granted if the

movant shows that the transferee venue “is clearly more convenient” than the plaintiff’s chosen

venue. In re Volkswagen of Am., Inc. (“Volkswagen II”), 545 F.3d 304, 314 (5th Cir. 2008) (en

banc). “The underlying premise of § 1404(a) is that courts should prevent plaintiffs from abusing




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their privilege under § 1391 by subjecting defendants to venues that are inconvenient under the

terms of § 1404(a).” Id. at 313.

        Threshold Requirement. As a threshold matter, the movant must first establish that the

case could have been brought in the proposed transferee district.              In re Volkswagen AG

(“Volkswagen I”), 371 F.3d 201, 203 (5th Cir. 2004). Here, the accused products are certain HP

computers allegedly incorporating infringing lens components made by Newmax, and Largan’s

basis for filing suit against Newmax in this District is that sales of the accused HP computers

occurred in Texas. (See, e.g., Complaint, Dkt. #1, ¶¶ 30, 38-40.) As sales of the accused HP

computers also occurred in the Northern District of California, Largan could have filed suit against

Newmax in that District as well.1 See HP Motion at 8.

        Once the threshold requirement is met, the court evaluates a series of private and public

interest factors to determine whether transfer is appropriate. Volkswagen II, 545 F.3d at 315.

These factors are neither exhaustive nor exclusive, and no single factor is dispositive. Id.

        Private Factors. The private factors include: “(1) the relative ease of access to sources of

proof; (2) the availability of compulsory process to ensure the attendance of witnesses; (3) the cost

of attendance for willing witnesses; and (4) all other practical problems that make trial of a case

easy, expeditions and inexpensive.” Volkswagen II, 545 F.3d at 315. These factors weigh in favor

of transfer:

               Relative Ease Of Access To Sources Of Proof. Newmax only has facilities in

Taiwan and China and its knowledgeable employees and relevant documents are located there.

(Dkt 39-1, ¶ 2). The Northern District of California is closer to Newmax’s facilities than this



1
 Subject to the establishment of personal jurisdiction, Newmax as a foreign corporation may be sued in
any judicial district. 28 USC §1391(c)(3).



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District and travel to the Northern District is facilitated by direct flights from Taiwan while no

direct flights exist to this District (Id. at ¶ 16; Hoffman Decl. ¶¶ 2-5). See On Semiconductor Corp.

v. Hynix Semiconductor, Inc., 2010 U.S. Dist. LEXIS 104616 at *21 (E.D. Tex. Sept. 30, 2010)

(“the existence or nonexistence of direct flights can impact the analysis of travel time”). Moreover,

as HP products are at the core of the infringement allegations, the majority of the evidence

pertaining to these HP products will come from HP, whose relevant documents and knowledgeable

employees are located either at its headquarters in Palo Alto, California or somewhere else outside

of this District. (HP Motion at 8-10.) Accordingly, this factor weights in favor of transfer. See

On Semiconductor Corp., 2010 U.S. Dist. LEXIS 104616, at *12 (“relative ease of access to

sources of proof” factor “turn[s] upon which party ... will most probably have the greater volume

of documents relevant to the litigation and their presumed location in relation to the transferee and

transferor venues”); Software Rights Archive, LLC, v. Google, Inc., No. 2:07-cv-511-CE, 2010

WL 2950351, at *2 (E. D. Tex. July 22, 2010) (“ease of accessing the defendants’ sources of proof

weighs more heavily than the ease of plaintiff’s proof”); Wireless Recognition Techs. LLC v.

A9.com, Inc., No. 2:10-cv-364-JRG, 2012 WL 506669, at *3 (E.D. Tex. Feb. 15, 2012) (explaining

that “an alleged infringer’s proof is particularly important to venue transfer analyses in patent

infringement cases”).

              Availability Of Compulsory Process To Ensure The Attendance Of Witnesses. As

HP stated in its motion, at least two categories of non-party witnesses located in the Northern

District of California are relevant to the subject analysis -- former HP employees with relevant

knowledge of the accused HP products and employees of Apple and/or Genius likely to have

information relevant to invalidity defenses. (See HP Motion at 10-12.) As only the Northern

District of California would have the ability to compel these witnesses to appear at a trial (see Fed.




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R. Civ. P. 45(a)(2), 45(c)(1)), this factor weighs in favor of transfer.2 Genentech, 566 F.3d at 1345

(Fed. Cir. 2009) (“fact that the transferee venue is a venue with usable subpoena power here weighs

in favor of transfer, and not only slightly”).

               Cost Of Attendance For Willing Witnesses. As Newmax only has facilities in

Taiwan and China, Newmax personnel would need to travel over 7700 miles from its headquarters

in Taiwan to the federal district courts in this District. (Dkt 39-1, ¶¶ 2, 16.) Travel time for these

Newmax witnesses ranges from 18 to 26 hours at a cost ranging from USD $3900 up to USD

$6500 for business class and is impacted by the fact that there are no direct flights nor one-stop

flights between Newmax’s headquarters in Taiwan and Sherman Texas. (Id. ¶ 16; Hoffman Decl.

¶ 5.) There are also no direct flights nor one-stop flights between Taipei, Taiwan and Sherman,

Texas. (Hoffman Decl. ¶ 4.) However, the Northern District of California is closer to Newmax’s

headquarters in Taiwan and travel to the Northern District is facilitated by the availability of

multiple direct flights from Taipei, Taiwan to San Francisco, California. Hoffman Decl. ¶¶ 2-3;

see On Semiconductor Corp., 2010 U.S. Dist. LEXIS 104616 at *21 (“the existence or

nonexistence of direct flights can impact the analysis of travel time”). Furthermore, HP witnesses

are relevant to the analysis of this factor and, as explained by HP in its motion, at least three

categories of witnesses are likely located in the Northern District of California: HP witnesses and

former HP employees with knowledge regarding the accused HP computers (including sales,

marketing, and financial performance of the accused HP computers) and Apple and/or Genius

employees with knowledge relevant to invalidity positions (see HP Motion at 10-12). Newmax




2
 Newmax is not aware of any potential non-party witnesses who reside in this District. That some non-
party witnesses with relevant knowledge may work outside the Northern District of California (e.g.,
camera-module manufacturers in Asia) does not alter the analysis of the subject private factor. See In re
Toyota Motor Corp., 747 F.3d 1338, 1340 (Fed. Cir. 2014).


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knows of no likely Newmax, Largan, HP or non-party witness within this District or within 100

miles of this Court.3 This factor “heavily favors transfer when a substantial number of material

witnesses reside in the transferee venue and no witnesses reside in the transferor venue.” Phil-

Insul Corp. v. Reward Wall Sys., Inc., 2012 WL 12836668, at *2 (E.D. Tex. Feb. 10, 2012)

(internal quotations omitted); see also In re Google Inc., 2017 WL 977038, *3 (Fed. Cir. Feb. 23,

2017) (quoting Genentech, 566 F.3d at 1343) (“The convenience of the witnesses is probably the

single most important factor in a transfer analysis.”).

                Practical Problems That Make Trial Of A Case Easy, Expeditions And Inexpensive.

No practical problems exist with transferring this action to the Northern District of California. The

case is in the very early stage of litigation – the parties have not exchanged initial disclosures;

discovery has not started; and no infringement or invalidity contentions have been exchanged. See

HP Motion at 12. Accordingly, this factor is neutral if not favoring transfer. See, e.g., TransUnion

Intelligence LLC v. Search Am., Inc., 2011 WL 1327038, at *5 (E.D. Tex. Apr. 5, 2011) (concluding

that this factor is neutral given that only limited discovery occurred).

        Public Factors. The public interest factors include: “(1) the administrative difficulties

flowing from court congestion; (2) the local interest in having localized interest decided at home;

(3) the familiarity of the forum with the law that will govern the case; and (4) the avoidance of

unnecessary problems of conflict of laws [or in] the application of foreign law.” Volkswagen II,

545 F.3d at 315. Together, these factors weigh in favor of transfer:




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  Although both Newmax and Largan may have witnesses located outside of the country, the locations of
those witnesses should not weigh against transfer. Genentech, 566 F.3d at 1344 (explaining “[w]hen a
particular witness will be required to travel ‘a significant distance no matter where they testify,’” then that
witness is discounted for the transfer analysis).


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               Administrative Difficulties Flowing From Court Congestion. As explained by HP

in its motion, this factor is neutral as the court congestion is relatively equal between this District

and the Northern District of California. See HP Motion at 15.

               Local Interest In Having Localized Interest Decided At Home. Newmax is a

Taiwan-based company that lacks any connection with either this District or the Northern District

except that sales of the accused HP products allegedly incorporating Newmax lenses are sold in

both districts. Notwithstanding Newmax’s lack of direct connection to either district, this action

still has a far greater factual connection to the Northern District of California than to this District

as HP developed the accused HP products at its headquarters in the Northern District of California.

(HP Motion at 2, 8) Further, Taiwan-based Largan does not claim any ties to this District. In fact,

if Largan has a connection to a specific jurisdiction within the United States, that connection is to

the Northern District of California as Largan filed (and pursued for three years) a patent

infringement case against Genius there. (HP Motion at 1, 4). Accordingly, this factor favors

transfer. 4

               Familiarity Of The Forum With The Law That Will Govern The Case. Judicial

economy favors transfer as the Northern District of California is already familiar with Largan, the

technology at issue, and one of the patents-in-suit from the three-year patent infringement suit filed

by Largan against third party Genius in the North District. See HP Motion at 1-2, 4-5, 13.

Moreover, should this Court grants HP’s motion to transfer, the Court should also grant Newmax’s

motion as the same HP products are at the core of the infringement allegations against both HP


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  “Fifth Circuit precedent clearly forbids treating plaintiff’s choice of venue as a distinct factor in the §
1404(a) analysis.” In re TS Tech US Corp., 551 F.3d 1315, 1320 (Fed. Cir. 2008) (citing Volkswagen, 545
F.3d at 314 n.10); see also Nintendo, 589 F.3d at 1200 (same). Further, the Fifth Circuit instructs, “[j]ury
duty is a burden that ought not to be imposed upon the people of a community which has no relation to
the litigation.” Volkswagen I, 371 F.3d at 206. As the accused products are developed in the Northern
District of California, the jury duty burden should be borne by those in that District. .


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and Newmax. Leaving Newmax in this District wastes judicial resources as doing so would require

both Districts to litigate the infringement allegations for the same accused products. Moreover, as

neither Largan nor Newmax are U.S. companies, the location of their litigation should be in the

district most convenient for HP as the only U.S. company involved in the litigation – the Northern

District of California.

               Avoidance Of Unnecessary Problems Of Conflict Of Laws [Or In] The Application

Of Foreign Law. This factor is neutral as patent cases are governed by Federal Circuit law.

        The proposed transferee venue is “clearly more convenient” where, as here, most of the

potential witnesses and relevant evidence are located in the transferee venue. See In re Nintendo

Co., 589 F.3d 1194, 1198 (Fed. Cir. 2009); In re Hoffman-La Roche Inc., 587 F.3d 1333, 1336-

1337 (Fed. Cir. 2009). Further, with regards to public interest factors, courts in the Eastern District

of Texas “have consistently recognized the pronounced significance of judicial economy in the §

1404(a) analysis in patent cases.” U.S. Ethernet Innovations, LLC v. Acer, Inc., Civil No. 6:09-cv-

448-JDL, 2010 WL 2771842 *6 (E.D. Tex. Jul. 13, 2010) (citing collection of cases). Indeed, “in

a case such as this in which several highly technical factual issues are presented…, the interest of

judicial economy may favor transfer to a court that has become familiar with the issues” as the

Northern District of California has here given the three-year Genius patent infringement case

involving Largan, the technology at issue, and one of the patents-in-suit. Regents of the Univ. of

Cal. v. Eli Lilly Co., 119 F.3d 1559, 1565 (Fed. Cir. 1997); see also In re Volkswagen of America,

Inc. (Volkswagen III), 566 F.3d 1349, 1351 (Fed. Cir. 2009) (“[T]he existence of multiple lawsuits

involving the same issues is a paramount consideration when determining whether a transfer is in

the interest of justice.”).




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III.   CONCLUSION

       For at least the foregoing reasons, as further detailed in the HP Motion, Newmax

respectfully requests that this Court transfer this case to the Northern District of California

pursuant to 28 U.S.C. § 1404(a).

Dated: March 2, 2020                           Respectfully submitted,

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                             CERTIFICATE OF CONFERENCE

       I hereby certify that, pursuant to Local Rule CV-7(h), counsel for NewMax met and

conferred with counsel for Largan on February 28, 2020, who indicated that Largan is opposed to

the relief sought by this Motion.


                                                /s/ David. M. Hoffman
                                                David M. Hoffman




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on a true and correct copy of the foregoing document

was served on March 2, 2020 on all counsel of record who are deemed to have consented to

electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                                /s/ David. M. Hoffman
                                                David M. Hoffman




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